UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
CASE NO.: 24-1014

RETURN OF SERVICE
Arpad Madarsz
VS.
Laboratory Corporation Of
America Holdings, et al. ;

ss.
I, Gerard C. Menichini, a competent adult, being duly sworn according to law, depose and say that at 10:25am on
03/15/2024, I served Laboratory Corporation Of America Holdings c/o CSC at 251 Little Falls Drive,
Wilmington, DE 19808 in the manner described below:
L_] Defendant(s) personally served.

Adult family member with whom said Defendant(s) reside(s).
Relationship is

LJ] Adult in charge of Defendant(s) residence who refused to give name and/or relationship.
L_]Manager/Clerk of place of lodging in which Defendant(s) reside(s).
L_]Agent or person in charge of Defendant's office or usual place of business.

L] an officer of said Defendant's company.

Other: By servi he registered agent in ac rdan to their requir r re, By entering th
Mocs ents i ei e e baske

a true and correct copy of SUMMONS AND COMPLAINT issued in the above captioned matter.

rd C. Menichini — Cert/Appt#: None

est\Legal Services, Inc.
1617 }JJohn F. Kennedy Blvd. Suite 805
Phil delphia, PA 19103

Law Firm: CONSOLE MATTIACCI LAW

Attorney: CAREN N, GURMANKIN, ESQUIRE

Address: 1525 LOCUST ST., 9TH FLOOR, PHILADELPHIA, PA, 19102
Telephone: 215-545-7676
